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3                               UNITED STATES DISTRICT COURT

4                              EASTERN DISTRICT OF CALIFORNIA

5

6    UNITED STATES OF AMERICA,                          No.     2:15-cr-00190-GEB
7                      Plaintiff,
8         v.                                            ORDER
9    JOHN MICHAEL DICHIARA, et. al.,
10                     Defendants.
11

12               Pending are in limine motions Defendant John Michael

13   DiChiara    filed     on       May    16,    2017.         Def.       Mot.,     ECF       No.   138.

14   Defendant    George       B.    Benson       filed    a     joinder        in    the       motions.

15   Joinder, ECF No. 131.                The United States filed a reply opposing

16   the motions.       Gov’t Reply, ECF No. 155.

17               All motions are summarily denied, except Defendants’

18   motion made under Federal Rule of Evidence 404(b), since they are

19   utterly     devoid        of    the        concreteness         necessary            to    justify

20   consideration and analysis. Defendants argue in their Rule 404(b)

21   motion     that     the     Government         has       not     sustained           its     burden

22   applicable to having the following noticed prior act evidence

23   admitted    during        trial:       evidence      that      DiChiara         engaged         in   a

24   “similar    mortgage       elimination         scheme .         .     .     predat[ing]          his

25   involvement in the charged scheme.”                   Def. Mot. 2:21-24.

26               Defendants first argue that “the Rule 404[(b)(2)(A)]

27   notice     provided        by    the        government[         should          be    considered

28   ineffective,       because           it]    does     not       meet       the    long-standing
                                                    1
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1    requirements of [United States v. Mehrmanesh, 689 F.2d 822 (9th

2    Cir. 1982),] and merely provides the defense with a boilerplate

3    statement of the Rule 404 exceptions.”                Def. Mot. 5:18-20. Rule

4    404(b)(2)(A) prescribes the following notice requirement: “On the

5    request by a defendant in a criminal case, the prosecutor must

6    . . . provide reasonable notice of the general nature of [the

7    proffered] evidence [of a crime, wrong, or other act] that the

8    prosecutor intends to offer at trial.”                 The subject notice is

9    quoted in the motion as follows:

10                 The government intends to introduce evidence
                   that DiChiara was engaged in a similar
11                 mortgage elimination scheme in the Sacramento
                   area that predated his involvement in the
12                 charged scheme. DiChiara used his church,
                   Shon-te-East,     to    recruit     distressed
13                 homeowners with a promise that their mortgage
                   loans would be cleared from title and their
14                 mortgage debt would be eliminated. This
                   earlier scheme ended in approximately 2009.
15                 Evidence of this earlier scheme will include,
                   without   limitation,    the    testimony   of
16                 homeowners involved in the earlier scheme,
                   testimony   and  documentary   evidence   from
17                 county recorders, testimony and documentary
                   evidence from financial institutions, and
18                 statements made by DiChiara.
19   Def. Mot. 5:10-16 (quoting Gov’t Notice 1:22-2:3, ECF No. 116).

20                 Defendants’     reliance       on   Mehrmanesh    is    unavailing.
21   Mehrmanesh      does   not    discuss    this      notice    issue.     Mehrmanesh

22   discusses “[t]he Government[’s] . . . burden of showing how the

23   proffered [prior act] evidence is relevant to one or more [Rule

24   404(b)] issues in the case . . . .”               Mehrmanesh, 689 F.2d at 830.

25   Further, the Government’s reply more specifically proffers the

26   nature of the prior act evidence it intends to offer at trial.
27   Gov’t Reply, ECF No. 155.            Defendants have not shown that the

28   prior   act    evidence     notice   information      they   received    fails   to
                                              2
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1    satisfy the “reasonable notice” principle in Rule 404(b)(2)(A).

2    Therefore, this portion of the motion is denied.

3                  Defendants also argue:

4                  [T]he government does not establish how this
                   [Rule 404(b) prior act] evidence will help to
5                  establish any material facts in [its] case
                   against   DiChiara[,    and   contends]   this
6                  evidence   will   likely   be   used  by   the
                   government for the improper purpose of
7                  proving   that   DiChiara   has    a  criminal
                   propensity [contrary to what is proscribed in
8                  Rule 404(b)(1)].
9    Def.   Mot.    5:20-23.         Rule   404(b)(1)    prescribes:        “Evidence     of    a

10   crime, wrong, or other act is not admissible to prove a person’s

11   character in order to show that on a particular occasion the

12   person    acted     in    accordance      with     the   character.”          Defendants

13   further    argue      the   Rule       404(b)   prior    act    evidence      should      be

14   excluded      under      Rule    403    because    if    the   jury    sees    or    hears

15   evidence that DiChiara “participat[ed] in and [had] knowledge of

16   uncharged criminal acts[, then that] will cause the jury to be

17   unfairly prejudiced against [Defendants].”                     Def. Mot. 6:24-25.

18                 The   Government         counters,    inter      alia,   that    the    Rule

19   404(b) prior act evidence is admissible to rebut the

20                 anticipate[d] . . . defense that [DiChiara]
                   did not have . . . the intent to defraud.
21                 DiChiara filed a notice under Fed. R. Crim.
                   P. 12.2. Evidence that DiChiara operated a
22                 similar fraud scheme using the Shon-te-East
                   church prior to joining the conspiracy in
23                 this case is probative evidence that he was
                   able to form the required mens rea.
24
     Gov’t Reply 3:11-15 (citations omitted).                        The Government also
25
     rejoins:
26
                   In its case-in-chief, the government present
27                 [sic] evidence of the statements DiChiara
                   made during his May 23, 2011 interview with
28                 law enforcement. The government may seek to
                                        3
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1               present a small number of documents from the
                first Shon-te-East scheme, as well as one or
2               two homeowner witnesses who were recruited
                into the first Shon-te-East scheme. The
3               government intends to call only homeowner
                witnesses that actually spoke with DiChiara.
4               The government estimates that the total
                length of its presentation of evidence
5               relating to the first Shon-te-East scheme
                will not exceed one-half of one court day in
6               its case-in-chief.

7    Gov’t Reply 5:5-11.

8               The evidentiary record concerning the admissibility of

9    Rule 404(b) prior act evidence is not concrete enough for a

10   thorough judicial examination of the admissibility of the prior

11   act evidence the United States “may seek to present” at trial.

12   Gov’t Reply 5:6.      “The district court [need not] make [an] in

13   limine ruling [on the admissibility of Rule 404(b) prior act

14   evidence] in a vacuum, and instead [may decide] the issue [when

15   it is presented with] more [factual] context on which to rely in

16   making an evidentiary ruling.”       United States v. Prigge, 830 F.3d

17   1094, 1096 (9th Cir. 2016), cert. denied, 137 S.Ct. 697 (2017).

18   Therefore, this portion of the motion is also denied.

19              In light of this decision denying Defendants’ in limine

20   motions, the scheduled July 14, 2017 hearing for the motions is

21   vacated.

22              Dated:   June 30, 2017

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